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10 Attorneys for United States of America

11                                 UNITED STATES DISTRICT COURT

12                               NORTHERN DISTRICT OF CALIFORNIA

13                                          SAN JOSE DIVISION

14   UNITED STATES OF AMERICA,                   )   Case No. 18-CR-00258 EJD
                                                 )
15           Plaintiff,                          )   DECLARATION OF KELLY I. VOLKAR IN
                                                 )   SUPPORT OF UNITED STATES’ OPPOSITION
16      v.                                       )   TO DEFENDANT ELIZABETH HOLMES’
                                                 )   MOTION FOR RELEASE PENDING APPEAL
17   ELIZABETH HOLMES,                           )
                                                 )   Date: March 17, 2023
18           Defendant.                          )   Time: 10:00 a.m.
                                                 )   Court: Hon. Edward J. Davila
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     VOLKAR DECL. ISO U.S.’ OPP’N TO DEF. RELEASE MOT.,
     CASE NO. 18-CR-258 EJD                      1
            Case 5:18-cr-00258-EJD Document 1721-1 Filed 01/19/23 Page 2 of 2




 1          I, Kelly I. Volkar, declare:

 2          1.      I am an Assistant United States Attorney (AUSA) representing the United States of

 3 America, the plaintiff in this case.

 4          2.      Attached hereto as Exhibit 1 is a true and correct copy of an email exchange between

 5 counsel for the government and defense counsel on January 23, 2022.

 6          3.      I was informed by our federal partners that Elizabeth Holmes’ partner, William Evans,

 7 left on the scheduled date (January 26, 2022) to Mexico, and returned on March 4, 2022, from

 8 Cape Town, South Africa.

 9          4.      I declare under penalty of perjury under the laws of the United States of America that the

10 foregoing is true and correct and that this declaration is executed at Oakland, California, on January 19,

11 2023.

12

13 DATED: January 19, 2023

14
                                                                 /s/ Kelly I. Volkar
15                                                               KELLY I. VOLKAR
                                                                 Assistant United States Attorney
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     VOLKAR DECL. ISO U.S.’ OPP’N TO DEF. RELEASE MOT.,
     CASE NO. 18-CR-258 EJD                      2
